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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  BRUNSWICK DIVISION

 In the matter of:                                     CHAPTER 7
 CHASE HUNTER WADE,
                                Debtor.                CASE NO. 18-20886-MJK


 USAA FEDERAL SAVINGS BANK

                                                       CONTESTED MATTER
                                Movant,

 V.

 CHASE HUNTER WADE, Debtor, and
 R. MICHAEL SOUTHER, Chapter 7
 Trustee,
                      Respondents.


                        MOTION FOR RELIEF FROM STAY,
                 WAIVER OF HEARING PURSUANT TO 11 U.S.C. § 362(e)
                   AND REQUEST FOR WAIVER OF RULE 4001(a)(3)


        COMES NOW USAA Federal Savings Bank, its successors or assigns (hereinafter

 known as “Movant”), and shows this Court the following:

                                                  1.

        This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

 automatic stay for all purposes allowed by law and the contract, including, but not limited to, the

 right to foreclosure on certain real property.

                                                  2.

        Movant is the holder or servicer of a loan secured by certain real property in which the

 Debtor has an interest. A copy of the Security Deed and assignments are attached hereto and

 made a part hereof. Said real property is security for a Promissory Note, and is commonly
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 known as 408 Brooklet Cir, Saint Marys, Georgia 31558. A copy of the Note is attached hereto

 and made part hereof.

                                                 3.

         There has been a default in payment of the monthly installments required pursuant to the

 Promissory Note. As of February 8, 2019, five (5) payments have been missed.

                                                 4.

         As of February 8, 2019, the unpaid principal balance is $194,933.72, and the payoff on

 the loan is approximately $198,128.34. According to the Debtor’s Schedule A, the property is

 currently valued at $243,170.00.

                                                 5.

         Because there may be little or no value in the property over the amount owed on the

 property, Movant is not adequately protected and there is cause for relief from the automatic

 stay.

                                                 6.

         Because there may be little or no equity in the property which could benefit the estate, the

 Trustee’s interest should be abandoned.

                                                 7.

         Because the Security Deed so provides, Debtor is responsible for Movant’s reasonable

 attorney fees.

                                                 8.

         Movant shows that the provisions of Bankruptcy Rule 4001(a)(3) should be waived.
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                                                9.

         Movant requests it be permitted to contact the Debtor via telephone or written

 correspondence regarding potential loss mitigation options, including, but not limited to, loan

 modifications, deeds in lieu of foreclosure, short sales, and/or any other potential loan workouts

 or loss mitigation agreements.

                                                10.

         Attached are redacted copies of any documents that support the claim, such as promissory

 notes, purchase order, invoices, itemized statements of running accounts, contracts, judgments,

 mortgages, and security agreements in support of right to seek a lift of the automatic stay and

 foreclose if necessary.

         WHEREFORE, Movant prays as follows:

         (a) That this Court issue an Order terminating the Automatic Stay with respect to the

 above-referenced property effective as of the date of the hearing; including, but not limited to,

 foreclosure of the property, gaining possession of the property and seeking to judicially confirm

 the sale, if appropriate.

         (b) That this Court authorize Movant to foreclose its security interest in said property in

 accordance with any applicable law as of the date this Court orders termination of the stay

 without further order of this Court;

         (c) That Movant be awarded reasonable attorney's fees and expenses.

         (d) That Movant, at its option, be permitted to contact the Debtor via telephone or written

 correspondence regarding potential loss mitigation options, including, but not limited to, loan

 modifications, deeds in lieu of foreclosure, short sales, and/or any other potential loan workouts

 or loss mitigation agreements.
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        (e) That the Court order that Federal Rule of Bankruptcy Procedure 4001(a)(3) is not

 applicable so that Movant may immediately enforce and implement an order granting relief from

 the automatic stay;

        (f) That Movant have such other and further relief as this Court deems just and equitable.

 Dated: February 15, 2019


                                             Shapiro Pendergast & Hasty, LLP


                                             ___________________________
                                                 /s/ Elizabeth Childers
                                             Elizabeth Childers
                                             Georgia Bar No. 143546
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